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                          UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
10
11    HANNA RHEE,                              Case No. SACV 18-975 PA(JC)
12                         Plaintiff,
13                  v.
14                                             JUDGMENT
15    MICHELLE ANNE BHOLAT,
      et al.,
16
17                         Defendants.
18
           Pursuant to the Order Accepting Findings, Conclusions, and
19
     Recommendations of United States Magistrate Judge, IT IS ADJUDGED that the
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     Complaint is dismissed without leave to amend.
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           IT IS SO ADJUDGED.
22
23
     DATED: July 3, 2019
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26                                      HONORABLE
                                        HONOORABLE  E PERCY ANDERSON
                                        UNITED STATES
                                                 STATTES DISTRICT JUDGE
27
28
